Case 1:18-cv-00852-RRM-PK Document 5 Filed 03/08/18 Page 1 of 1 PageID #: 36




 HAND BALDACHIN AMBURGEY LLP
                                                                             8 West 40th Street
                                                                             12th Floor
                                                                             New York, NY 10018
                                                             LAW OFFICES
                                                                             dir   212.956.9508
                                                                             tel   212.956.9500
                                                                             fax   212.376.6080
                                                                             amichaels@hballp.com




                                                             March 8, 2018

  VIA ECF

  Hon. Roslynn R. Mauskopf
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

         Re:    Kiler v. Rag & Bone Holdings, LLC d/b/a Rag & Bone,
                18-cv-852 (RRM)(PK)

  Dear Judge Mauskopf:

         On behalf of defendant Rag & Bone Holdings, LLC d/b/a Rag & Bone (“Rag &
  Bone”), and with the consent of plaintiff Marion Kiler, Rag & Bone respectfully requests
  the time to move, answer, or otherwise respond to the Complaint be extended up to and
  including April 6, 2018. The original response date is March 8, 2018, as per Fed. R. Civ.
  P. 12(a)(1)(A)(i).

         There has been no previous request for extension of time in connection with this
  matter and no other scheduled dates are affected.

         Thank you for your consideration.


                                                      Respectfully submitted,




                                                      Adam B. Michaels

  cc: all counsel of record (via ECF)




                                                                                                    hba
